
668 S.E.2d 901 (2008)
HARLEYSVILLE INS.
V.
BUZZ OFF INSECT.
No. 272A08.
Supreme Court of North Carolina.
November 13, 2008.
David L. Brown, John I. Malone, Jr., Martha P. Brown, Greensboro, for Harleysville Mutual Ins. Co.
Mack Sperling, John S. Buford, Greensboro, Cecilia O. Miller, Diana S. Casey, San Diego, CA, for International Garment Tech.
Gary K. Sue, Greensboro, Michael A. Hamilton, for Erie Insurance.
David Neal Allen, Charlotte, for NC Assoc. of Defense Attys.
Theodore B. Smyth, Stephen D. Martin, Raleigh, for Property Casualty Insurers.
The following order has been entered on the motion filed on the 10th day of November 2008 by Amicus (Property Casualty Insurers Association of America) for extension of time to file Amicus Brief:
"Motion Allowed. Amicus (Property Casualty Insurers Association of America) shall have up to and including the 20th day of November 2008 to file and serve his/her brief with this Court. By order of the Court in conference this the 13th day of November 2008."
